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 4   Attorney for Defendant
     Behrooz Badie
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 7
                             IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                              )   Case No: 08-474 EJG
11                                                          )
                     Plaintiff,                             )   STIPULATION AND ORDER CONTINUING
12                                                          )   STATUS CONFERENCE AND EXCLUDING
             vs.                                            )   TIME UNDER THE SPEEDY TRIAL ACT
13                                                          )
                                                            )   Date: 6-25-10
14   DINO ROSETTI, and BEHROOZ BADIE,                       )   Time: 10:00 a.m.
                                                            )   Courtroom: Honorable EDWARD J. GARCIA
15                                                          )
                     Defendants.                            )
16                                                          )
                                                            )
17

18
             Defendant Behrooz Badie, through his counsel of record, Patrick K. Hanly, Esq., defendant Dino
19
     Rosetti, through his counsel of record Mark Reichel, and plaintiff United States of America, through its
20
     counsel, Assistant United States Attorney Philip A. Ferrari, agree and stipulate that the current status
21
     conference set for June 25, 2010, in the above case shall be re-scheduled for July 30, 2010 at 10:00
22
     a.m., to allow more time for defense to counsel to analyze the discovery provided by the government.
23
     The defense for Mr. Badie is still in the process of reviewing the over 48,000 pages of discovery
24
     provided by the government and needs more time to complete that task. The continuance will allow Mr.
25
     Badie to better understand the government’s case and thus he will be in a better position to advise the
26
     court of the status of the case at the next court date.
27
             The parties further agree and stipulate that under 18 U.S.C. §3161 (h) (7) (B) (iv), and Local
28
     Code T4, time from the date of this stipulation shall be excluded from computation of time within which



                                     Stipulation and Order Continuing Status Conference
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 1   the trial of this matter must be commenced under the Speedy Trial Act until and including, July 30,

 2   2010, for counsel preparation time and to permit the parties to further investigate, review and complete

 3   the exchange of discovery, and prepare the case for further proceedings.

 4   Dated: June 22, 2010                                 /s/Mark Reichel__________________
                                                            Attorney for Defendant
 5                                                          Dino Rosetti

 6
     Dated: June 22, 2010                                /s/ Patrick K. Hanly__________________
 7                                                          Attorney for Defendant
                                                            Behrooz Badie
 8

 9
     Dated: June 22, 2010                                  UNITED STATES ATTORNEY
10
                                                   By: /s/ Philip A. Ferrari
11                                                         Assistant United States Attorney

12

13                                                   ORDER
14

15           Based on the stipulation of the parties and good cause appearing there from, the Court hereby

16   finds that the failure to grant a continuance in this case would deny defense counsel reasonable time

17   necessary for effective preparation, taking into account the exercise of due diligence. The Court

18   specifically finds that the ends of justice served by the granting of such continuance outweigh the

19   interests of the public and the defendant in a speedy trial. Based on these findings and pursuant to the
20   stipulation of the parties, the Court hereby adopts the stipulation of the parties in its entirety as its Order.

21

22           IT IS SO ORDERED.
23           Dated: June 23 2010                     /s/ Edward J. Garcia
                                                     HONORABLE EDWARD J. GARCIA
24                                                   United States District Court Judge
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                                   Stipulation and Order Continuing Status Conference                               2
